                             Case 1:17-cr-00037-JL Document 82 Filed 06/27/19 Page 1 of 8
 AO 24SB      Judgment in a Criminal Case                                                                                         U.S. DISTRICT COURT
'NHDC2/18      Sheet 1                                            ^<::5CEIVED                                                 DISTRICT OF NEW HAMPSHIRE
                                                                  O. MAKbdAL
                                            United St^v'ffiS'Bi^tfocT Court                                                                 o^ 20t9
                                                                                                                                       FILED
              UNITED STATES OF AMERICA                                                         JUDGMENT IN A CRIMINAL CASE
                                  V.


                                                                                               Case Number:           17-cr-37-01-JL
                         Christopher dough
                                                                                               USM Number 15817-049

                                                                                               Patrick J. Richard, Esq.
                                                                                               Defendant's Attorney                            ,S           O—
 THE DEFENDANT:                                                                                                                                ^            O'oi'jo
                                                                                                                                               's           z. m
 □ pleaded guilty to count{s)                                                                                                                               0g".0
                                                                                                                                                —           0>rn
 □ pleaded nolo contendere to count(s)
   which was accepted by the court
                                                                                                                                                ^           pCOjTt
 ^2was found guilty on count(s)             1- 8 of the Indictment   /                                                                          "                 XO
   after a plea of not guilty.                                                                                                                                  Xr-
                                                                                                                                                to
                                                                                                                                                to
 The defendant is adjudicated guilty of these offenses:

 Title & Section                 Nature of Offense                                                                         Offense Ended                  Count
       mm
 i8us:c
                                                                                                    i         (Ill
                                                                                          ■■




 42 U.S.C. § 1320a-7b(b)           Receipt of Kickbacks

                                                                         •       ' U'
                                                                             f   <                                                                    i

                                  r:                                                                         ' f.           •■y.
                                                                                                                                       cf                   (
                                               n                                                                 "I' Ci.
        the defendant is sentencedas provided in pages inuvough                                          of tms juclgmenL The sentence is imposed^ursuant to
                                                                                                                                                c=>
 the Sentencing Reform Act of 1984.                                                                                                             •wO


 □ Hie defendant has been found not guilty on count(s)                                                                                                     COC


 □ Count(s)                                                □ is      □ are dismissed on the motion of the United State&^                        ro


 □ Count(s)
                                                                                                                                        3 }
                                                                                                                                       aWfy

          It is ordered that the defendant must notify the United States attomey for this district within 30 days of          _ Dge ofwmi                         idence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fiilly paid. If ordered
                                                                                                                                del   to pa;                         tion,
 the defendant must notify       court and United States attorney of material changes in econoimc circumstances.                               ^
                                                                                        6/3/2019

                                                                                     Date of Impositioi^ofJpdgment

               certified TO BE AT^UE COPY
               DANIEL J.LYNCKQ^'^'^                                                  Signature of Jud]


                            DEPUTY OL
                                                                                     Joseplyl^. Laplante U.S. District Judge
                                                                                     Name and Title ofJudge




                                                                                     Date
                     Case 1:17-cr-00037-JL Document 82 Filed 06/27/19 Page 2 of 8




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                                                                                V/ .V^-;
                              Case 1:17-cr-00037-JL Document 82 Filed 06/27/19 Page 3 of 8
 AO 245B              Judgment in Criminal Case
■•NHDC 2/18           Sheet 2 — Imprisonment

                                                                                                       Judgment—Page          of

 DEFENDANT: Christopher Clough
 CASE NUMBER; 17-cr-37-01-JL


                                                              IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Msons to be imprisoned for a total term of:
  48 months on Counts 2 through 8, all such terms to run concurrently.




       □ The court makes the following recommendations to the Bureau of Prisons:




       0 Tbe defendant is remanded to the custody of the United States Marshal.
       □ The defendant shall surrender to the United States Marshal for this district:
           □ at                                     □ a.m.      □ p.m.       on
           □ as notified by the United States Marshal.

       □ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           □ before 2 p.m. on
           □ as notified by the United States Marshal.
            □ as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
  I have executed this judgment as follows:




              Defendant delivered on              yj U>l€ ^ ^          ^                   to           FlHC Pei/u3
  at                                                   , with a certified copy of this judgment



                                                                                                    ^^XiWTE&3'FAIE&
                                                                                                    ,JjmTW STAIES



                                                                            By                                         5^'7
                                                                                                  ODWY UblHEP^FafflES AiUBSHAb-
                              Case 1:17-cr-00037-JL Document 82 Filed 06/27/19 Page 4 of 8
AO 245B            Judgment in a Crimina] Case
NHDC2/18           Sheet 3 — Supervised Release
                                                                                                        Judgment-^age            of
DEFENDANT: Christopher Clough
CASE NUMBER: 17-cr-37-01-JL
                                                        SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a tenn of:
 2 years: such terms consists of two years on Counts 1 though 8, all such terms to run concurrently.




                                                            MANDATORY CONDmONS

  1.      You must not commit another federal, state or local crime.
  2.      You must not unlawfully possess a controlled substance.
  3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
          imprisonment and at least two periodic drug tests thereafter, as determined by the coiut.
                        yf The above drug testing condition is suspended, based on the court's determination that you pose
                             a low risk offuture substance abuse.(Ckedc, tft^licabk.)
  4 Q You must make restitution in accordance with 18 U.S.C. §§ 3363 and 3663A or any other statute authorizing a sentence of
              restitution.(Cheek, ifexplicable.)

  5.   a" You must cooperate in the collection ofDNA as directed by the probation officer, fiyieck, ifexplicable.)
  6.   EH You must comply with the requirements ofthe Sex Offender Registration and Notification Act(34 U.S.C.§ 20901,ei seq.)as
               directed by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which you reside, woric,
               are a student, or were convicted of a qualifying offense.(Check, ifapplicable.)
  7. Q You must participate in an approved program for domestic violence.(Check, ifexplicable)


   You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
   page.
                          Case 1:17-cr-00037-JL Document 82 Filed 06/27/19 Page 5 of 8

AO 24SB   Judgment in a Criminal Case
NHDC 2/18 Sheet 3A — Supervised Release
                                                                                                      Judgment—^Page            of
DEFENDANT: Christopher Clough
CASE NUMBER: 17-cr-37-01-JL


                                   STANDARD CONDITIONS OF SUPERVISION


As part of your supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federaljudicial district where you are authorized to reside within 72 hours of your
       release from imprisomnent,unless the probation officer instructs you to report to a different probation office or within a different time
       frame.

2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3. ■   You must not knowingly leave the federaljudicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change.Ifnotifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware ofa change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time(at least 30 hours per week)at a lawful fype of employment,imless the probation officer excuses you from
       doing so. If you do not have frill-time employment you must try to find full-time employment,imless the probation officer excuses
       you from domg so.If you plan to change where you woric or anything about your woric(such as your position or yourjob
       responsibilities), you must notify the probation officer at least 10 days before the change.If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware ofa change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted ofa felony, you must not knowingly communicate or interact with that person without^t getting the permission ofthe
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own,possess, or have access to a firearm, ammunition,destructive device, or dangerous weapon (i.e., anything that
       was designed,or was modified for, the specific purpose ofcausing bodily injury or death to another person such as nunchakus or
       tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission ofthe court
 12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the ri^ and you must compfy with that instruction. The probation officer may contact the
       person and confirm mat you have notified the person about the risk.
 13.   You must follow the instructions ofthe probation officer related to the conditions ofsupervision.

 U.S.Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthisjudgment
 containing these conditions.I understand additional information regarding these conditions is available at the www.uscourts.gov.


 Defendant's Signature.                                                                              Date
                        Case 1:17-cr-00037-JL Document 82 Filed 06/27/19 Page 6 of 8
AO 24SB     Judgmeat in a Crimina] Case
NHDC 2/18   Sheet 3D — Supervised Release
                                                                                             Judgment—Page          of
DEFENDANT: Christopher Clough
CASE NUMBER: 17-cr-37-01-JL

                                      SPECIAL CONDITIONS OF SUPERVISION

1. You must provide the probation officer with access to any requested financiai information and authorize the release of
any financiai information. The probation office may share financiai information with the Financial Litigation Unit of the U.S.
Attome/s Office.


2. You must not incur new credit charges, or open additional lines of credit without the approval of the probation officer.


3. If the judgment imposes a finandal penalty, you must pay the financial penalty in accordance with the Schedule of
Payments sheet of this judgment. You must also notify the court of any changes in economic circumstances that might
affect the ability to pay this financial penalty.
                        Case 1:17-cr-00037-JL Document 82 Filed 06/27/19 Page 7 of 8

AO 24SB        Judgment in a Criminal Case
NHr)r7./1R     Sheet 5 — Criminal Monetary Penalties
                                                                                                       Judgment—Page       0          of~
DEFENDANT: Christopher Clough
CASE NUMBER: 17-cr-37-01-JL
                                             CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetaiy penalties imder the schedule of payments on Sheet 6.

                      Assessment                       IVTA Assessment *             pine                              Restitution
TOTALS            S 800.00                         S                            $                                  S



^ The determination ofrestitution is deferred until another date.An Amended Judgment in a Crimincd Case(A0245C) will be entered
     after such determination.


□ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                         Total Loss**          Restitution Ordered        Priority or Percentage




                                  .s
                                                                                                                   - t -       •• ■          ••   "?




TOTALS                                                         0.00                               0.00



□     Restitution amount ordered pursuant to plea agreement S

□     The defendant must pay interest on restitution and a fine of more than S2,S00, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      □ the interest requirement is waived for the            □ fine      □ restitution.
      □ the interest requirement for the          □    fine    □ restitution is modified as follows:


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters 109A, 110,110A,and 113AofTitle 18 for offenses committed on
or after September 13, 1994, but before April 23,1996.
                                                                                                                  Include this page when printing?
                         Reset this page                                                                                   0 Yes            Q No
                              Case 1:17-cr-00037-JL Document 82 Filed 06/27/19 Page 8 of 8
A0245B              Judgment in a Criminal Case
NHDC2/18            Sheet 6 — Schedule ofPayments

                                                                                                          Judgment—Page               of
DEFENDANT: Christopher Clough
CASENUMBER: 17-cr-37-01-JL


                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetaiy penalties is due as follows:
A ^ Lump sum payment of$ 800 00                             due immediately,balance due
           □    not later than                                   ,or
           □    in accordance         □ C,      □ D,        □      E,or     □ F below; or

     □ Payment to begin immediately (may be combined with                 □ C,        □ D, or      □ F below); or
     □     Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

D    □     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of S                           over a period of
                          (e.g.. months or years), to commence                     (e.g., 30 or 60 days) after release fi-om imprisonment to a
           term of supervision; or

E•   □ Payment during the term of supervised release will commence within                              (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
      □ Special instructions regarding the payment of criminal monetaiy penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal mpnet^ penalti|^ due
during the period of imprisonment All criminal monetaiy penalties, except those payments made throng the Federal Bureau of Pnsons
Tnmatff Financial Responsibility Program, are made to the CSerk, U.S. District Court, 55 Pleasant Street, Room 110, Concord, N.H. 03301.
Personal checlu are not accepted.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
 □    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (inclttding defendant number). Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




 □    The defendant shall pay the cost of prosecution.

 □    The defendant shall pay the following court cost(s):

 n    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the followingorder. (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JvTA assessment, (8) penalties, and (9) costs, mcludmg cost of prosecution and court costs.
